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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                          No: 24-1275

                                       Tayvin Galanakis

                                                    Appellee

                                               v.

                                     City of Newton, Iowa

                                                    Appellant

                                          Rob Burdess

   Nathan Winters and Christopher Wing, individually and in their official capacities with the
                                Newton Police Department

                                                    Appellants

______________________________________________________________________________

         Appeal from U.S. District Court for the Southern District of Iowa - Central
                                   (4:23-cv-00044-SHL)
______________________________________________________________________________

                                          MANDATE

       In accordance with the opinion and judgment of April 17, 2025, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                      May 08, 2025




Clerk, U.S. Court of Appeals, Eighth Circuit




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